                       Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 1 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the

                                                    __________
                                                        WesternDistrict
                                                                Districtofof__________
                                                                             Texas

    La Union del Pueblo Entero; (See attachment)                        )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 5:21-cv-844
                                                                        )
  GREGORY W. ABBOTT, in his official capacity as                        )
      Governor of Texas; (See attachment)                               )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Gregory W. Abbott
                                           Office of the Governor
                                           State Insurance Building
                                           1100 San Jacinto
                                           Austin, TX 78701



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Nina Perales
                                           MALDEF
                                           110 Broadway, Suite 300,
                                           San Antonio, TX 78205
                                           (See attachment)


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                             Signature of Clerk or Deputy Clerk
                        Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 2 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:21-cv-844

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
          Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 3 of 12




                        SUMMONS IN A CIVIL ACTION CONTINUATION SHEET

Plaintiff(s), continued                             Counsel of Record, continued
Friendship‐West Baptist Church; The Anti‐           Sean Morales-Doyle, Eliza Sweren-Becker*,
Defamation League Austin, Southwest, and            Patrick A. Berry*, Andrew B. Garber*,
Texoma Regions; Southwest Voter Registration        BRENNAN CENTER FOR JUSTICE AT NYU
Education Project; Texas Impact; Mexican            SCHOOL OF LAW, 120 Broadway, Suite 1750
American Bar Association of Texas; Texas            New York, NY 10271; (646) 292-8310
Hispanics Organized for Political Education; JOLT
Action; William C. Velasquez Institute; FIEL        Paul R. Genender, Elizabeth Y. Ryan,
Houston, Inc.; Isabel Longoria; and James Lewin     Matthew Berde*, Megan Cloud^, WEIL,
                                                    GOTSHAL & MANGES LLP, 200 Crescent
                                                    Court, Suite 300, Dallas, Texas 75201; (214)
                                                    746-8158

                                                    Alexander P. Cohen*, WEIL, GOTSHAL &
                                                    MANGES LLP, 767 Fifth Avenue, New York,
                                                    NY 10153; (212) 310-8020

                                                    Christian D. Menefee, Jonathan Fombonne,
                                                    Tiffany Bingham*, Sameer S. Birring, Radiah
                                                    Rondon*, Susannah Mitcham*, OFFICE OF THE
                                                    HARRIS COUNTY ATTORNEY, 1019 Congress
                                                    Plaza, 15th Floor, Houston, TX 77002; (713)
                                                    274-5101

                                                    Michael C. Keats*, Rebecca L. Martin*,
                                                    Jessica M. Choi*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, One New York
                                                    Plaza, New York, NY 10004; (212) 859-8000

                                                    Christopher Bell*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, 801 17th Street,
                                                    NW, Washington, DC 20006; (202) 639-7000

                                                    * Application for admission pro hac vice
                                                    forthcoming

                                                    ^ Application for admission pro hac vice
                                                    pending
Defendant(s), continued                             Counsel of Record
ESPARZA, JOSE, A. In his official capacity as
Deputy Secretary of State of Texas; PAXTON,
WARREN, K. in his official capacity as Attorney
General of Texas; and TORRES, LUPE, C. in her
official capacity as Medina County Elections
Administrator
                       Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 4 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                    __________
                                                        WesternDistrict
                                                                Districtofof__________
                                                                             Texas

    La Union del Pueblo Entero; (See attachment)                       )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:21-cv-844
                                                                       )
  GREGORY W. ABBOTT, in his official capacity as                       )
      Governor of Texas; (See attachment)                              )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jose A. Esparza
                                           Deputy Secretary of State
                                           1100 Congress, Capitol Building, Room 1E.8A
                                           Austin, TX 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Nina Perales
                                           MALDEF
                                           110 Broadway, Suite 300
                                           San Antonio, TX 78205
                                           (See attachment)


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                        Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 5 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:21-cv-844

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
          Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 6 of 12




                        SUMMONS IN A CIVIL ACTION CONTINUATION SHEET

Plaintiff(s), continued                             Counsel of Record, continued
Friendship‐West Baptist Church; The Anti‐           Sean Morales-Doyle, Eliza Sweren-Becker*,
Defamation League Austin, Southwest, and            Patrick A. Berry*, Andrew B. Garber*,
Texoma Regions; Southwest Voter Registration        BRENNAN CENTER FOR JUSTICE AT NYU
Education Project; Texas Impact; Mexican            SCHOOL OF LAW, 120 Broadway, Suite 1750
American Bar Association of Texas; Texas            New York, NY 10271; (646) 292-8310
Hispanics Organized for Political Education; JOLT
Action; William C. Velasquez Institute; FIEL        Paul R. Genender, Elizabeth Y. Ryan,
Houston, Inc.; Isabel Longoria; and James Lewin     Matthew Berde*, Megan Cloud^, WEIL,
                                                    GOTSHAL & MANGES LLP, 200 Crescent
                                                    Court, Suite 300, Dallas, Texas 75201; (214)
                                                    746-8158

                                                    Alexander P. Cohen*, WEIL, GOTSHAL &
                                                    MANGES LLP, 767 Fifth Avenue, New York,
                                                    NY 10153; (212) 310-8020

                                                    Christian D. Menefee, Jonathan Fombonne,
                                                    Tiffany Bingham*, Sameer S. Birring, Radiah
                                                    Rondon*, Susannah Mitcham*, OFFICE OF THE
                                                    HARRIS COUNTY ATTORNEY, 1019 Congress
                                                    Plaza, 15th Floor, Houston, TX 77002; (713)
                                                    274-5101

                                                    Michael C. Keats*, Rebecca L. Martin*,
                                                    Jessica M. Choi*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, One New York
                                                    Plaza, New York, NY 10004; (212) 859-8000

                                                    Christopher Bell*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, 801 17th Street,
                                                    NW, Washington, DC 20006; (202) 639-7000

                                                    * Application for admission pro hac vice
                                                    forthcoming

                                                    ^ Application for admission pro hac vice
                                                    pending
Defendant(s), continued                             Counsel of Record
ESPARZA, JOSE, A. In his official capacity as
Deputy Secretary of State of Texas; PAXTON,
WARREN, K. in his official capacity as Attorney
General of Texas; and TORRES, LUPE, C. in her
official capacity as Medina County Elections
Administrator
                       Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 7 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                    __________
                                                        WesternDistrict
                                                                Districtofof__________
                                                                             Texas

    La Union del Pueblo Entero; (See attachment)                       )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:21-cv-844
                                                                       )
  GREGORY W. ABBOTT, in his official capacity as                       )
      Governor of Texas; (See attachment)                              )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Warren K. Paxton, Attorney General of Texas
                                           Office of the Attorney General
                                           300 W. 15th Street
                                           Austin, TX 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Nina Perales
                                           MALDEF
                                           110 Broadway, Suite 300
                                           San Antonio, TX 78205
                                           (See attachment)


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                        Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 8 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:21-cv-844

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
          Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 9 of 12




                        SUMMONS IN A CIVIL ACTION CONTINUATION SHEET

Plaintiff(s), continued                             Counsel of Record, continued
Friendship‐West Baptist Church; The Anti‐           Sean Morales-Doyle, Eliza Sweren-Becker*,
Defamation League Austin, Southwest, and            Patrick A. Berry*, Andrew B. Garber*,
Texoma Regions; Southwest Voter Registration        BRENNAN CENTER FOR JUSTICE AT NYU
Education Project; Texas Impact; Mexican            SCHOOL OF LAW, 120 Broadway, Suite 1750
American Bar Association of Texas; Texas            New York, NY 10271; (646) 292-8310
Hispanics Organized for Political Education; JOLT
Action; William C. Velasquez Institute; FIEL        Paul R. Genender, Elizabeth Y. Ryan,
Houston, Inc.; Isabel Longoria; and James Lewin     Matthew Berde*, Megan Cloud^, WEIL,
                                                    GOTSHAL & MANGES LLP, 200 Crescent
                                                    Court, Suite 300, Dallas, Texas 75201; (214)
                                                    746-8158

                                                    Alexander P. Cohen*, WEIL, GOTSHAL &
                                                    MANGES LLP, 767 Fifth Avenue, New York,
                                                    NY 10153; (212) 310-8020

                                                    Christian D. Menefee, Jonathan Fombonne,
                                                    Tiffany Bingham*, Sameer S. Birring, Radiah
                                                    Rondon*, Susannah Mitcham*, OFFICE OF THE
                                                    HARRIS COUNTY ATTORNEY, 1019 Congress
                                                    Plaza, 15th Floor, Houston, TX 77002; (713)
                                                    274-5101

                                                    Michael C. Keats*, Rebecca L. Martin*,
                                                    Jessica M. Choi*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, One New York
                                                    Plaza, New York, NY 10004; (212) 859-8000

                                                    Christopher Bell*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, 801 17th Street,
                                                    NW, Washington, DC 20006; (202) 639-7000

                                                    * Application for admission pro hac vice
                                                    forthcoming

                                                    ^ Application for admission pro hac vice
                                                    pending
Defendant(s), continued                             Counsel of Record
ESPARZA, JOSE, A. In his official capacity as
Deputy Secretary of State of Texas; PAXTON,
WARREN, K. in his official capacity as Attorney
General of Texas; and TORRES, LUPE, C. in her
official capacity as Medina County Elections
Administrator
                      Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 10 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the

                                                    __________
                                                        WesternDistrict
                                                                Districtofof__________
                                                                             Texas

    La Union del Pueblo Entero; (See attachment)                       )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:21-844
                                                                       )
  GREGORY W. ABBOTT, in his official capacity as                       )
      Governor of Texas; (See attachment)                              )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lupe C. Torres, Elections Administrator
                                           Medina County
                                           3102 Ave G
                                           Hondo, TX 78861




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Nina Perales
                                           MALDEF
                                           110 Broadway, Suite 300
                                           San Antonio, TX 78205
                                           (See attachment)


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                       Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 11 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:21-844

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
         Case 5:21-cv-00844-XR Document 2 Filed 09/03/21 Page 12 of 12




                        SUMMONS IN A CIVIL ACTION CONTINUATION SHEET

Plaintiff(s), continued                             Counsel of Record, continued
Friendship‐West Baptist Church; The Anti‐           Sean Morales-Doyle, Eliza Sweren-Becker*,
Defamation League Austin, Southwest, and            Patrick A. Berry*, Andrew B. Garber*,
Texoma Regions; Southwest Voter Registration        BRENNAN CENTER FOR JUSTICE AT NYU
Education Project; Texas Impact; Mexican            SCHOOL OF LAW, 120 Broadway, Suite 1750
American Bar Association of Texas; Texas            New York, NY 10271; (646) 292-8310
Hispanics Organized for Political Education; JOLT
Action; William C. Velasquez Institute; FIEL        Paul R. Genender, Elizabeth Y. Ryan,
Houston, Inc.; Isabel Longoria; and James Lewin     Matthew Berde*, Megan Cloud^, WEIL,
                                                    GOTSHAL & MANGES LLP, 200 Crescent
                                                    Court, Suite 300, Dallas, Texas 75201; (214)
                                                    746-8158

                                                    Alexander P. Cohen*, WEIL, GOTSHAL &
                                                    MANGES LLP, 767 Fifth Avenue, New York,
                                                    NY 10153; (212) 310-8020

                                                    Christian D. Menefee, Jonathan Fombonne,
                                                    Tiffany Bingham*, Sameer S. Birring, Radiah
                                                    Rondon*, Susannah Mitcham*, OFFICE OF THE
                                                    HARRIS COUNTY ATTORNEY, 1019 Congress
                                                    Plaza, 15th Floor, Houston, TX 77002; (713)
                                                    274-5101

                                                    Michael C. Keats*, Rebecca L. Martin*,
                                                    Jessica M. Choi*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, One New York
                                                    Plaza, New York, NY 10004; (212) 859-8000

                                                    Christopher Bell*, FRIED, FRANK, HARRIS,
                                                    SHRIVER & JACOBSON LLP, 801 17th Street,
                                                    NW, Washington, DC 20006; (202) 639-7000

                                                    * Application for admission pro hac vice
                                                    forthcoming

                                                    ^ Application for admission pro hac vice
                                                    pending
Defendant(s), continued                             Counsel of Record
ESPARZA, JOSE, A. In his official capacity as
Deputy Secretary of State of Texas; PAXTON,
WARREN, K. in his official capacity as Attorney
General of Texas; and TORRES, LUPE, C. in her
official capacity as Medina County Elections
Administrator
